               CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 1 of 27




                       IN THE UNITED STATES DISTRICT COURT
                                  OF MINNESOTA




ANASTASIA PEARSON and JAYSON
MCGUIRE, individually and on behalf of
                                                     Case No. ____________________
all others similarly situated,
                       Plaintiffs,

                                                     CLASS ACTION COMPLAINT
KIA AMERICA, INC., HYUNDAI
MOTOR AMERICA, and HYUNDAI KIA                       JURY TRIAL DEMAND
AMERICA TECHNICAL CENTER, INC.

                        Defendants.



       Plaintiffs, individually and on behalf of all other persons similarly situated, bring this

Complaint for damages against Defendants Kia America Inc., Hyundai Motor America, and

Hyundai Kia America Technical Center, Inc. (collectively, “Defendants”).



                                      NATURE OF ACTION

       1.      This is a class action claim arising from a defect in Kia vehicle models from 2011-

2021 and Hyundai vehicles from 2016-2021 that lack an engine immobilizer (the “Defective

Vehicles”). The defect makes the vehicles susceptible to theft, unsafe, and worth less than they

would be without the defect.

       2.      During the relevant class period, Defendants sold these Defective Vehicles at

multiple locations throughout the state of Minnesota and the United States.

       3.      During the relevant class period, Defendants manufactured, designed, and put the

Defective Vehicles into the stream of commerce. Defendant did so without disclosing the fact these

vehicles had a defect impacting the vehicles’ security, safety, and value.
               CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 2 of 27




       4.      The existence of the defect is a material fact that a reasonable person would rely on

when purchasing a vehicle.

       5.      Even now, despite admitting that there is a theft problem with the vehicles,

Defendants are unwilling or unable to fix the vehicles, compensate consumers, or otherwise take

actions to solve the problems their Defective Vehicles are causing.



                                            PARTIES

       6.      Plaintiffs bring this action on their own behalf and as representatives of a class of

persons who purchased and/or own a Defective Vehicle that was manufactured, produced,

distributed, and/or sold by Defendants.

       7.      This matter arises out of negligent acts, errors, and omissions committed by the

Defendants against Plaintiffs causing Plaintiffs and the putative class to suffer damages. Plaintiffs

bring this action on their own behalf and as representatives of a class of similarly situated persons

to recover damages for violations of the Minnesota Deceptive Trade Practices Act (MUDTPA),

Minn. Stat. §325D.43 et. seq., the Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301 et. seq.,

among other claims, for economic and injunctive relief against Defendants which manufactured,

designed, tested, distributed, promoted, and sold the Defective Vehicles.

       8.      At the time the Defective Vehicle was purchased, Plaintiffs were unaware that the

vehicle lacked an engine immobilizer, was defective, and that it was not fit for the ordinary purpose

for which it was used in that it was easy to steal, unsafe, and worth less than it should be if they

did not have the defect.

       9.      Plaintiff Anastasia Pearson is a resident and citizen of the state of Minnesota.

       10.     Plaintiff Pearson purchased a 2016 Hyundai Tucson Sport in White Bear Lake,

Minnesota, for personal, family or household purposes.

       11.     Plaintiff Pearson’s vehicle was stolen from in front of her home in St. Paul,

Minnesota in July 2022.


                                                 2
                CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 3 of 27




         12.   When Plaintiff Pearson’s vehicle was recovered, it was substantially damaged,

which required her to pay over a thousand dollars out-of-pocket for repairs and necessary cleaning

costs.

         13.   Barely two months later, on October 22, 2022, Plaintiff Pearson had her vehicle

stolen once again. Plaintiff Pearson’s parked her vehicle outside of her home at or around 10am,

and two hours later the same day, she discovered her vehicle had been stolen. Plaintiff Pearson’s

vehicle was recovered later that evening with substantial damage and hundreds of dollars’ worth

of personal property missing from the vehicle.

         14.   Plaintiff Pearson, once again, has paid hundreds of dollars out of pocket towards

necessary repairs for her vehicle and has incurred additional out-of-pocket expenses for a rental

car.

         15.   Plaintiff Pearson also purchased a Club to help guard against future thefts of her

vehicle.

         16.   As of November 4, 2022, the full extent of the damage to Plaintiff Pearson’s vehicle

is still being assessed, and the full amount of repair costs is still being determined.

         17.   Plaintiff Jayson McGuire is a resident and citizen of the state of Minnesota.

         18.   Plaintiff McGuire leased a 2021 Kia Sportage in Minnesota, for personal, family or

household purposes.

         19.   Plaintiff McGuire’s vehicle was stolen on October 10, 2022.

         20.   Plaintiff McGuire’s vehicle was stolen from outside his place of employment in

Woodbury, Minnesota.

         21.   When Plaintiff McGuire’s vehicle was recovered by the police, it was substantially

damaged. Plaintiff McGuire paid thousands of dollars out-of-pocket to complete the repairs.

         22.   Plaintiff McGuire also had to spend hundreds of dollars for a rental vehicle.

         23.   Plaintiffs, on behalf of themselves and the putative class, seek a refund for monies

paid because of their purchase or lease of the Defective Vehicles, compensation for other losses


                                                  3
                CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 4 of 27




incurred because of the defect, and further seek injunctive relief, enjoining Defendants from selling

the Defective Vehicles, and requiring Defendants to repair the defect.

       24.     Defendant Kia America, Inc., is a California corporation that maintains its principal

place of business at 111 Peters Canyon Road, Irvine, California, 92606. Defendant Kia America,

Inc. is engaged in the business of testing, developing, manufacturing, labeling, marketing,

distributing, promoting, supplying and/or selling, either directly or indirectly, through third parties

and/or related entities, the Defective Vehicles.

       25.     Defendant, Hyundai Motor America, is a California corporation that maintains its

principal place of business at 10550 Talbert Avenue, Fountain Valley, California, 92708.

Defendant Hyundai Motor America is engaged in the business of testing, developing,

manufacturing, labeling, marketing, distributing, promoting, supplying and/or selling, either

directly or indirectly, through third parties and/or related entities, the Defective Vehicles.

       26.     Defendant Hyundai Kia America Technical Center, Inc., is a Michigan corporation

that maintains its principal place of business at 6800 Geddes Road, Superior Township, Michigan,

48198. Defendant Hyundai Kia America Technical Center, Inc. is engaged in the business of

testing, developing, manufacturing, labeling, marketing, distributing, promoting, supplying and/or

selling, either directly or indirectly, through third parties and/or related entities, the Defective

Vehicles.

                                 JURISDICTION AND VENUE

       27.     This Court has subject matter jurisdiction over this action under the Class Action

Fairness Act of 2005 (“CAFA”) because (1) Plaintiffs bring this action on behalf of a class which

numbers in the thousands, (2) Plaintiffs (residents of Minnesota) and Defendants (headquartered

in California and Michigan) are citizens of different states, and (3) the aggregate amount in

controversy exceeds $5,000,000. See 28 U.S.C. § 1332(d). Plaintiffs bring this action, as explained

more fully below, on behalf of putative Nationwide and Minnesota classes of individuals who




                                                   4
                CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 5 of 27




suffered the harms set forth in this complaint. On information and belief, Defendants have sold

thousands of Defective Vehicles throughout Minnesota, totaling millions of dollars in sales.

        28.     This Court has personal jurisdiction over Defendants because Defendants transact

business within the State of Minnesota and committed one or more of the underlying acts within

the state of Minnesota.

        29.     Defendants transacted business and/or committed the underlying actions within the

State of Minnesota. Defendants distribute, and/or sell dangerous and/or defective vehicles in

Minnesota. Defendants placed the Defective Vehicles into the stream of commerce, sold and/or

supplied said products for use, and/or transacted business and committed the underlying acts

giving rise to Plaintiffs’ claims in Minnesota.

        30.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 in that a substantial part

of the events that gave rise to the claims in this case occurred in this District in that the theft of the

Defective Vehicle took place in Minnesota.

        31.     Venue is proper in this District under 28 U.S.C. § 1391(b) and (c) because

Defendants’ improper conduct alleged in this complaint occurred in, was directed from, and/or

emanated from this judicial district, because Defendants have caused harm to Class Members

residing in this district, and/or because the Defendants are subject to personal jurisdiction in this

district.

                                    FACTUAL ALLEGATIONS

        32.     The Defective Vehicles which are the subject of this suit are manufactured,

designed, produced, distributed, and sold by Defendants. The Defective Vehicle are easy to steal,

unsafe, and worth less than they would be if they did not have the Defect.

        33.     Defendants manufacture, design, produce, distribute, and sell the “Defective

Vehicles,” defined as: “all Kia models from 2011-2021 that lack an engine immobilizer and all

Hyundai vehicles from 2016-2021 that lack an engine immobilizer.” These vehicles share the

same “Defect”—a lack of an engine immobilizer—and therefore suffer a common injury.


                                                    5
                CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 6 of 27




       34.     Defendants’ advertising, labeling, and other marketing concealed or otherwise

failed to disclose, reveal, or provide notice to customers, including Plaintiffs, that these vehicles

are defective and are not fit for the ordinary purposes for which the vehicles are used in that they

are easy to steal, unsafe, and worth less than they should be if they were not defective.

       35.     The Defective Vehicles are so easily stolen due to their failure to comply with the

Federal Motor Vehicle Safety Standard (“FMVSS”) 114. FMVSS 114, S.5.1.1 requires that each

vehicle must have a starting system which, whenever the key is removed from the starting system

prevents:

               a.      The normal activation of vehicle’s engine or motor: and

               b.      Either steering, or forward self-mobility, of the vehicle, or both.

       36.     The Defective Vehicles do not comply with the FMVSS in that whenever the key

is removed from the starting system, neither steering nor forward self-mobility is prevented.

Failure to immobilize a Defective Vehicle upon removal or absence of its key is a major contributor

to the Defective Vehicles’ rate of theft.

       37.     A vehicle prone to theft cannot provide reliable transportation.

       38.     A vehicle prone to theft is not a safe vehicle.

       39.     A vehicle that can be prone to theft is not a vehicle that can be depended on to

provide reliable transportation.

       40.     A vehicle that is prone to theft is not a safe vehicle.

       41.     The vehicles are defective because, among other things, Defendants manufactured

and designed them without engine immobilizers, an electronic security device that prevents engine

ignition without a key.

       42.     Anyone can steal a Defective Vehicle by stripping the plastic cover off the ignition

column, exposing the vulnerable key cylinder and electronics, and using a USB drive, a knife, or

similar tool to turn the ignition and start the vehicle without a key or code.




                                                  6
                   CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 7 of 27




          43.     A YouTube video with over 3.7 million views, posted on May 31, 2022 features a

demonstration of how to steal and start a Defective Vehicle.1

          44.     A subsequent TikTok challenge video with over 30 million views, posted on July

12, 2022, also features a demonstration of how to steal and start a Defective Vehicle. See Kia Boyz,

https://www.tiktok.com/discover/KIA-BOYZ%F0%9F%91%BF

          45.     Once an individual steals a Defective Vehicle, they can freely operate the vehicle,

including the vehicle’s steering and forward self-mobility, due to the lack of an engine

immobilizer.

          46.     Additionally, on information and belief, some of the Defective Vehicles’ windows

are not adequately connected to the security system; this allows a thief to break open the window

without the alarm being triggered.

          47.     Defendants knew, as is evident in complaints filed with the National Highway

Traffic Safety Administration (“NHTSA”), their vehicles were defective in this manner but failed

and refused to disclose these defects to customers, despite having the capability and means to do

so.

          48.     For example, NHTSA complaint 11471343, dated June 28, 2022, states: “My

2017 Kia Forte is a[sic] easy target for the ‘Kia Boys’ here in Columbus Ohio. My car was a

victim of theft where my passenger glass was shattered and my steering column was taken apart

and my ignition was jammed with a screwdriver. Kia has made this car susceptible to theft and

has nothing to do about it. I want relief from this hazard.” See

https://www.nhtsa.gov/vehicle/2017/KIA/FORTE/4%252520DR/FWD#complaints

           49.    Defendants had the capability and means to add an engine immobilizer or similar

    device, yet they failed to do so.

           50.    Defendants also knew just how dangerous it was to not have an engine immobilizer.


1
 See Tommy G, Kia Boys Documentary (A Story of Teenage Car Theft, YouTube (May 31,
2022), https://www.youtube.com/watch?v=fbTrLyqL_nw.

                                                   7
               CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 8 of 27




        51.    Beginning in 2009, Kia sought to add as standard equipment an immobilizer system

to its Amanti line of vehicles. Kia told the federal government that this device was similar to other

devices which reduce theft by 58 to 80 percent. See, Federal Register, Vol. 75, No. 6, page 1448,

January 11, 2010.

        52.    Likewise, beginning in 2007, Hyundai sought to add, as standard equipment, an

immobilizer system to its Azera line of vehicles. It told the federal government that this device

was similar to other devices which reduce theft to 58 to 80 percent. See, Federal Register, Vol.

72, No. 138, page 39662, July 19, 2007.

                               CLASS ACTION ALLEGATIONS

       53.     Plaintiffs bring this class action pursuant to Rule 23, Federal Rules of Civil

Procedure, on behalf of themselves and the following class of similarly situated persons:


       a.      A “Nationwide Class” based on claims of unjust enrichment, violations of
               the Magnuson Moss Warranty Act, negligence, design defect, and/or breach
               of express and/or implied warranty consisting of all customers who
               purchased, leased, and/or own any of the Defective Vehicles in the United
               States within the past five years; or

       b.      A “Minnesota Class” based on claims brought under the MUDTPA, unjust
               enrichment, and/or breach of express, and/or implied warranty, negligence,
               and design defect, consisting of all customers who purchased, leased, and/or
               own any of the Defective Vehicles in Minnesota for personal, family,
               business, or household purposes with the applicable statute of limitations
               period.
       54.     Excluded from each Class are Defendants, including any parent, subsidiary,

affiliate, or controlled person of Defendants; Defendants’ officers, directors, agents, or employees;

the judicial officers assigned to this litigation; and members of their staffs and immediate families.

Also excluded from each Class are those claiming they have suffered a personal injury because of

the Defective Vehicles, as well as residents of Wisconsin.

       55.     Each of the proposed Classes meets all requirements for class certification. Each

Class satisfies the numerosity standards. Each Class is believed to number in the thousands of


                                                  8
                 CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 9 of 27




persons. As a result, joinder of all Class Members in a single action is impracticable. All Class

Members may be informed of the pendency of the Class Action by, among other methods, direct,

published and/or broadcast notice.

       56.       There are questions of fact and law common to the Nationwide Class or Minnesota

Class which predominate over any questions affecting only individual members. The question of

law and fact common to each Class arising from Defendants’ actions include, without limitation,

the following:

       a.        Whether Defendants designed and manufactured the Defective Vehicles
                 without engine immobilizers;
       b.        Whether the failure of the vehicles to, among other design failures, have
                 engine immobilizers makes them easy to steal, unsafe, and worth less than
                 they would be if they had engine immobilizers;
       c.        Whether the absence of an engine immobilizer, among other design failures,
                 is a material fact in the purchasing of a vehicle;
       d.        Whether, in marketing and selling the Defective Vehicles, Defendants
                 failed to disclose the lack of an engine immobilizer and other design
                 failures;
       e.        Whether Defendants failed to disclose and/or concealed the material fact
                 that the Defective Vehicles, among other things, did not have an engine
                 immobilizer.
       f.        Whether Defendants failed to warn adequately of the dangers of vehicles
                 that do not contain engine immobilizers, among other things;
       g.        Whether Defendants knew or should have known that the Defective
                 Vehicles did not have engine immobilizers, among other things;
       h.        Whether Defendants knew or should have known that the failure of the
                 vehicles to have engine immobilizers, among other things, makes them easy
                 to steal, unsafe, and worth less that they would be if they had engine
                 immobilizers;
       i.        Whether Defendants continued to manufacture, market, distribute, and sell
                 the Defective Vehicles notwithstanding its knowledge of the defects,
                 dangerous nature and risks of harm;
       j.        Whether Defendants knowingly omitted, suppressed or concealed material
                 facts about the unsafe and defective nature of the Defective Vehicles from
                 the consuming public;
       k.        Whether the Defective Vehicles are fit for their ordinary purpose;
       l.        Whether the Defective Vehicles proved reliable transportation;
       m.        Whether the Defective Vehicles are safe;
       n.        Whether the Defective Vehicles contain a design defect;
       o.        Whether Defendants’ conduct violated the MEDTPA;
       p.        Whether Defendants’ conduct violated the Magnuson Moss Warranty Act;

                                                 9
                CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 10 of 27




        q.      Whether Plaintiffs and the Classes were harmed by Defendants’ conduct;
                and/or
        r.      The degree to which Plaintiffs and the Classes were harmed by Defendants’
                conduct.
        57.     The questions set forth above predominate over any questions affecting only

individual persons, and a class action is superior with respect to considerations of consistency,

economy, efficiency, fairness and equity, to other available methods for the fair and efficient

adjudication of this controversy.

        58.     A class action is the appropriate method for the fair and efficient adjudication of

this controversy. The presentation of separate actions by individual Class Members could create

inconsistent and varying adjudications, establish incompatible standards of conduct for

Defendants, and/or substantially impair or impede the ability of Nationwide Class Members or

Minnesota Class Members to protect their interest.

        59.     The claims of Plaintiffs are typical of the claims of members of the Nationwide

Class and the Minnesota Class. Upon information and belief, the Defective Vehicles all share the

same defects. Upon information and belief, the labels, manuals, advertising, and disclosures

concerning the Defective Vehicles all fail to reasonably disclose the presence of these defects.

        60.     Plaintiffs are adequate representatives of the Nationwide Class and the Minnesota

Class because they are members of both Classes and their interests do not conflict with the interests

of the members of the Nationwide Class or Minnesota Class they seek to represent. The interests

of the members of the Nationwide Class or Minnesota Class will be fairly and adequately protected

by the Plaintiffs and the undersigned counsel, who have extensive experience prosecuting complex

class action litigation.

        61.     Plaintiffs seek a refund of some, or all monies paid as a result of the purchase or

lease of the Defective Vehicle that occurred following Defendants’ wrongful and improper

conduct in connection with the manufacture, marketing, distribution, testing, promotion, labeling

and/or selling of the Defective Vehicle.



                                                 10
               CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 11 of 27




       62.     Plaintiffs also seek compensation for damages incurred beyond the reduced value

of their vehicles, including but not limited to the purchase price of a “Club” or other similar devices

to prevent theft, the increase in insurance premiums they are or may face due to the design defect,

and the stigma associated with the Defective Vehicles.

       63.     Plaintiffs specifically exclude from this class action any damages, losses, or other

relief of any kind arising from the personal injuries suffered by those class members personally

injured by the Defective Vehicle based on the defects.

       64.     Maintenance of this action as a class action is a fair and efficient method for the

adjudication of this controversy. It would be impracticable and undesirable for each member of

the Nationwide Class or Minnesota Class who suffered harm to bring a separate action given the

damages at issue compared to the costs of litigating each individual claim. In addition, the

maintenance of separate actions would place a substantial and unnecessary burden on the courts

and could result in inconsistent adjudications, while a single class action can determine, with

judicial economy, the rights of all Nationwide Class Members or Minnesota Class Members.

       65.     Class action treatment of the claims in this action is the superior method of

resolution with respect to concerns of efficiency, fairness, and equity over other available methods

of adjudication.

       66.     Class action treatment is appropriate in this case because Defendants acted, or

refused to act, in a manner that was generally applicable to – and often identical to – each member

of the Nationwide Class or Minnesota Class. Defendants provided vehicles with the same defect

to, and withheld the same information from, all members of the Nationwide Class or Minnesota

Class and sold vehicles with the same defects.

       67.     Notice can be provided to Class Members by using techniques and forms of notice

similar to those customarily used in other defective-product cases and complex class actions.




                                                  11
               CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 12 of 27




                                     CLAIMS FOR RELIEF

                                  COUNT I
               VIOLATION OF THE MINNESOTA UNIFORM DECPTIVE
                   TRADE PRACTICES ACT (MUDTPA) § 325D.43

       68.     Plaintiffs re-allege and incorporate herein all other allegations in this Complaint.

       69.     The MUDTPA, provides, in part, that a person engages in a deceptive trade practice

when, in the course of business, the person represents that goods have characteristics or benefits

that they do not have. Minn. Stat. § 325D.44 Subd. 1(5).

       70.     The MUDTPA, provides, in part, that a person engages in a deceptive trade practice

when, in the course of business, the person engages in conduct that creates a likelihood of

confusion or misunderstanding. Minn. Stat. § 325D.44 Subd. 1(13).

       71.     The acts and practices engaged in by Defendants, and described herein, constitute

deceptive business practices in violation of the MUDTPA.

       72.     Defendants engaged in unlawful practices including deceptions, false promises,

misrepresentation, and/or the concealment, suppression, or omission of material facts, specifically,

the failure to warn or disclose that the vehicles were defective, including that they lacked an engine

immobilizer, as well as the representation the defective Vehicles meet all federal safety standards

– in connection with the sale, distribution or advertisement of the Defective Vehicle in violation

of the MUDTPA.

       73.     Defendants engaged in unlawful practices including conduct that created the

likelihood of confusion or misunderstanding as to whether the Defective Vehicles were equipped

with an engine immobilizer.

       74.     Under Minn. Stat. § 325D.44 Subd. 2, in order to prevail under the MUDTPA, “a

complainant need not prove . . . actual confusion or misunderstanding.”


                                                 12
               CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 13 of 27




       75.     Plaintiffs suffered the consequences of the Defect as a resident in Minnesota when

their vehicle was stolen. The recent decision in Ford Motor Co. v. Montana Eighth Judicial District

Court 2021 WL 1132505 (U.S. March 25, 2020), confers standing on Plaintiffs to assert claims

based on a product that was falsely represented, as stated above, in violation of the MUDTPA, and

as a result, Plaintiffs suffered economic damages in that the vehicles purchased or leased were

worth less than the vehicle they thought they had purchased or leased, had Defendants not omitted

and/or misrepresented material facts. Plaintiffs, and other reasonable consumers, had no

reasonable information to suggest that the Defective Vehicles lacked an engine immobilizer, failed

to meet FMVSS 114, or was otherwise easy to steal and unsafe.

       76.     Plaintiffs and the Minnesota Class Members acted as reasonable consumers would

in light of all circumstances.

       77.     Defendants’ actions and omissions would cause a reasonable person to be confused

or have a misunderstanding as to whether the Defective Vehicles were equipped with engine

immobilizers, complied with FMVSS 114, and were easy to steal.

       78.     As a direct result of Defendants’ actions and omission, Plaintiffs and the Minnesota

Class Members suffered economic damages that can be calculated with a reasonable degree of

certainty, including a refund of money paid as a result of their purchase or lease.

       79.     These damages are not limited to only the difference in value between a Defect

Vehicle and a similar vehicle that is not defective and loss of value of the vehicle due to damage

and theft. Other damages include, but are not limited to, the purchase price of a “Club” or other

similar devices to prevent theft, the increase in insurance premiums they are or may face due to

the design defect, and the stigma associated with the Defective Vehicles.




                                                 13
                CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 14 of 27




          80.   Plaintiffs and the Minnesota Class also seek injunctive relief, requiring Defendants

to repair the Defective Vehicles.

                             COUNT II
  VIOLATION OF THE MINNESOTA PREVENTION OF CONSUMER FRAUD ACT
                (MPCFA) – MINN. STAT. § 325F.68 ET SEQ.

          81.   Plaintiffs re-allege and incorporate herein all other allegations in this Complaint.

          82.   Plaintiffs, Class Plaintiffs and Defendants are all “person[s]” for purposes of the

MPCFA. Minn. Stat. § 325F.68 Subd. 3.

          83.   The MPCFA (Minn. Stat. § 325F.69) provides in pertinent part:

                The act, use, or employment by any person of any fraud, false
                pretense, false promise, misrepresentation, misleading statement or
                deceptive practice, with the intent that others rely thereon in
                connection with the sale of any merchandise, whether or not any
                person has in fact been misled, deceived, or damaged thereby, is
                enjoinable as provided in section 325F.70.

          84.   Defendants sold the Defective Vehicles in Minnesota and throughout the United

States.

          85.   The Defective Vehicles meet the definition of “merchandise” under the MPCFA.

Minn. Stat. § 325.68

          86.   Defendants’ sale of the Defective Vehicles meets the definition of “sale” under the

MPCFA. Minn. Stat. § 325F.68

          87.   Defendants engaged in misrepresentation, deception, or deceptive practices in the

sale of the Defective Vehicles in that defendants failed to warn or disclose that the vehicles were

defective, including that they lacked an engine immobilizer, as well as by representing that the

Defective Vehicles meet all federal safety standards including FMVSS 114.

          88.   Pursuant to Minn. Stat. § 325F.70 and Ford Motor Co. v. Montana Eighth Judicial

District Court,592 U.S. ___, (2021). Plaintiffs are entitled to seek an order enjoining future


                                                 14
               CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 15 of 27




conduct by Defendants, damages for the difference in value between a Defective Vehicle and a

similar vehicle that is not defective and loss of value of the vehicle due to damage and theft. Other

damages include, but are not limited to, the purchase price of a “Club” or other similar devices to

prevent theft, the increase in insurance premiums they are or may face due to the design defect,

and the stigma associated with the Defective Vehicle.

                                COUNT III
              VIOLATION OF THE MAGNUSON MOSS WARRANTY ACT

       89.     Plaintiffs re-allege and incorporate herein all other allegations in this Complaint.

       90.     Plaintiffs bring this Count against Defendants on behalf of members of the

Nationwide Consumer Class.

       91.     This Court has jurisdiction to decide claims brought under 15 U.S.C. § 2301 by

virtue of 28 U.S.C. § 1332(a)-(d).

       92.     The Defective Vehicles are “consumer products” within the meaning of the

Magnuson- Moss Warranty Act, 15 U.S.C. § 2301(1).

       93.     Plaintiffs and Class Members are “consumers” within the meaning of the

Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).

       94.     Defendants are “suppliers” and “warrantors” within the meaning of the Magnuson-

Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).

       95.     15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer who is

damaged by the failure of a warrantor to comply with an implied or written warranty.

       96.     Defendant provided Plaintiffs and the other Class Members with an implied

warranty of merchantability in connection with the purchase or lease of their vehicles that is an

“implied warranty” within the meaning of the Magnuson-Moss Warranty Act, 15 U.S. C. §

2301(7).


                                                 15
               CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 16 of 27




       97.     As a part of the implied warranty of merchantability, Defendants warranted that the

Defective Vehicles were fit for the ordinary purpose of passenger motor vehicles, were not far

easier to steal than other vehicles, and were not unsafe and/or unreliable due to the ease at which

they can be stolen.

       98.     Defendants breached this implied warranty and are therefore liable to Plaintiffs and

the Class pursuant to 15 U.S.C. § 2310(d)(1) because, without limitation, the Defective Vehicles

share common design defects, including that they lack engine immobilizers.

       99.     These defects render the Defective Vehicles deficient, in that they do not provide

safe and reliable transportation, as they are tremendously easy to steal.

       100.    A vehicle prone to theft cannot provide reliable transportation.

       101.    A vehicle that is prone to theft cannot be relied on for transportation.

       102.    A vehicle prone to theft is not a safe vehicle.

       103.    A vehicle that is prone to theft is an unsafe vehicle.

       104.    Defendants provided Plaintiffs and the other Class Members with an express

written warranty in connection with the purchase or lease of their vehicles, as described further

below, that is a “written warranty” within the meaning of the Magnuson-Moss Warranty Act, 15

U.S.C. § 2301(6).

       105.    Defendants made written affirmations of fact that the Defective Vehicles would be

free of defects that would prevent ordinary use.

       106.    Upon information and belief, Defendants affixed labeling and other written

affirmations making specific, performance-related representations related to the nature of the

Defective Vehicles, including expressly warranting that the Defective Vehicles were high quality,




                                                   16
               CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 17 of 27




properly designed, in conformance with applicable federal standards, and at a minimum, would

work properly.

       107.      Defendants breached their express warranties for the Defective Vehicles by, among

other things, selling or leasing to Class Members Defective Vehicles that are not free of material

defects; they contain no engine immobilizers, are far easier to steal than other vehicles, and are

therefore unsafe and worth less than if they had engine immobilizers, which they should.

       108.      Any efforts to limit the express and implied warranties in a manner that would

exclude coverage of the Defective Vehicles is unconscionable, and any such effort to disclaim, or

otherwise limit, liability for the Defective Vehicles is null and void. Any limitations on the express

and implied warranties are procedurally unconscionable. Defendants purposefully misrepresented

the Defective Vehicles to consumers.

       109.      Additionally, there was unequal bargaining power between Defendants and

Plaintiffs and the Class Members.

       110.      Any limitations on the express and implied warranties are substantively

unconscionable.

       111.      Defendants knew that no engine immobilizers were installed on the Defective

Vehicles, among other design failures, and that they were failing to disclose this material fact,

thereby misrepresenting the safety, ease of theft, and value of the Defective Vehicles.

       112.      Defendants failed to disclose the defects to Plaintiffs and the other Class Members

even though Defendants were aware of the defects.

       113.      Nonetheless, privity is not required here because Plaintiffs and each of the other

Class Members are intended third-party beneficiaries of contracts between Defendants and their

dealers and agents.



                                                 17
               CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 18 of 27




       114.    Specifically, Plaintiffs and each of the other Class Members are intended third-

party beneficiaries of the implied and written warranties.

       115.    The dealers and agents were not intended to be the ultimate consumers of the

Defective Vehicles and have no rights under the warranty agreements provided for the Defective

Vehicles: the warranty agreements were designed for and intended to benefit consumers.

       116.    Finally, privity is also not required because the Defective Vehicles are unsafe and

hazardous instrumentalities due to, among other matters, the lack of engine immobilizers.

       117.    Pursuant to 15 U.S.C. § 2310(e), Plaintiffs are entitled to bring this class action and

are not required to give Defendants notice and an opportunity to cure until such time as the Court

determines the representative capacity of Plaintiffs pursuant to Rule 23 of the Federal Rules of

Civil Procedure.

       118.    Furthermore, affording Defendants an opportunity to cure their breach of

warranties would be unnecessary and futile.

       119.    Defendants are aware of the problems, and even claim they have attempted to “fix”

their 2022 vehicles to eliminate the safety defects described herein by including an immobilizer

on all models and trim packages but are refusing to do anything about the pre-2022 Defective

Vehicles.

       120.    At the time of sale or lease of each Defective Vehicle, the Defendants knew, should

have known, or were reckless in not knowing of their misrepresentations and omissions concerning

the Defective Vehicles’ inability to perform as warranted, but nonetheless failed to rectify the

situation and/or disclose the defective design.

       121.    Under the circumstances, the remedies available under any informal settlement

procedure would be inadequate, and any requirement that Plaintiffs resort to an informal dispute



                                                  18
                CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 19 of 27




resolution procedure and afford Defendants a reasonable opportunity to cure their breach of

warranties is excused and thereby deemed satisfied.

         122.   The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

sum of $25.

         123.   The amount in controversy of this action exceeds the sum of $50,000, exclusive of

interest and costs, computed based on all claims to be determined in this lawsuit.

         124.   Plaintiffs, individually and on behalf of the other Class Members, seek all damages

permitted by law, including diminution in value of their vehicles, in an amount to be proven at

trial.

         125.   In addition, pursuant to 15 U.S.C. § 2310(d)(2), Plaintiffs and the other Class

Members are entitled to recover a sum equal to the aggregate amount of costs and expenses

(including attorneys’ fees based on actual time expended) determined by the Court to have

reasonably been incurred by Plaintiffs and the other Class Members in connection with the

commencement and prosecution of this action.

         126.   Additionally, Plaintiffs and each of the other Class Members are entitled to

equitable relief under 15 U.S.C. § 2310(d)(1), including Defendants being required to fix these

vehicles.

                                         COUNT IV
                                    UNJUST ENRICHMENT

         127.   Plaintiffs re-allege and incorporate herein all other allegations in this Complaint.

         128.   Plaintiffs and the Nationwide Class and/or Minnesota Class Members purchased or

leased vehicles that they would not have purchased or leased had they known that the vehicles,

among other defects, contain no engine immobilizers, are far easier to steal than other vehicles,

and are therefore unsafe and worth less than if they had engine immobilizers.


                                                 19
                CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 20 of 27




       129.     The purchase and lease of the Defective Vehicles conferred a benefit upon

Defendants. Defendants manufactured, distributed, and sold the Defective Vehicles at a higher

profit due to the lack of the engine immobilizer and other anti-theft devices.

       130.     Defendants appreciated and knowingly accepted the benefit of the sale of the

Defective Vehicles to Plaintiffs and the Class.

       131.     The Defendants were therefore unjustly enriched at the expense of and to the

detriment of the Plaintiffs and the Class.

       132.     Plaintiffs and the Nationwide Class and/or Minnesota Class are therefore entitled

to restitution from the Defendants and seek an order requiring the Defendants to disgorge all

profits, benefits, and other compensation the Defendants obtained from the sale of these products.

                                       COUNT V
                             BREACH OF IMPLIED WARRANTY

       133.     Plaintiffs re-allege and incorporate herein all other allegations in this Complaint.

       134.     Defendants are merchants with respect to the sale of the Defective Vehicles

purchased or leased by Plaintiffs.

       135.     Defendants, by selling and leasing the Defective Vehicles, impliedly warranted that

the vehicles were merchantable with respect to goods of that kind.

       136.     This warranty was assigned to Plaintiffs upon purchasing or leasing the vehicle.

       137.     The Defective Vehicles sold by Defendants and purchased by Plaintiffs did not

conform with the implied promises made with respect to the labels and material that accompanied

the product. Specifically, by failing to reasonably disclose the vehicles did not have engine

immobilizers, Defendants implied that the Defective Vehicles were not far easier to steal than other

vehicles, were thereby safe, and were worth as much as vehicles that possessed engine

immobilizers.


                                                  20
               CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 21 of 27




       138.    As a result of having no engine immobilizer, among other defects, the Defective

Vehicles were not merchantable, and Defendants breached their implied warranty of

merchantability with respect to the Defective Vehicles.

       139.    Had Plaintiffs known that the Defective Vehicles lacked an engine immobilizer,

among other defects, making them far easier to steal, and were thereby unsafe and worth less than

their sales price, they would not have purchased or leased their vehicles, or would have paid

significantly less for the vehicle. As a result of Defendants’ breach of implied warranty, Plaintiffs,

and the Nationwide Class and/or Minnesota Class Members have suffered economic injuries.

       140.    Defendants are being provided notice by receipt of demand made by Plaintiffs on

behalf of themselves and the putative class through the filing of this Complaint. In addition,

Defendants have actual notice of the defect.

                                     COUNT VI
                            BREACH OF EXPRESS WARRANTY

       141.    Plaintiffs re-allege and incorporate herein all other allegations in this Complaint.

       142.    Defendants are and at all relevant times were merchants with respect to motor

vehicles under U.C.C. § 2-313.

       143.    Upon information and belief, in the course of selling its vehicles, Defendants

expressly warranted in writing that the Defective Vehicles were high quality, properly designed,

in conformance with applicable federal standards, and at a minimum, would work properly.

       144.    Defendants breached their express warranties for the Defective Vehicles by, among

other things, selling or leasing to Class Members’ Defective Vehicles that are not free of material

defects; they contain no engine immobilizers, are far easier to steal than other vehicles, and are

therefore unsafe and worth less than if they had engine immobilizers, which they should.




                                                 21
                 CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 22 of 27




       145.      Due to the Defendants’ breach of warranties as set forth herein, Plaintiffs and the

Class assert as an additional and/or alternative remedy, as set forth in U.C.C. §§ 2-608 and 2-711,

for a revocation of acceptance of the goods, and for a return to Plaintiffs and to the Class of the

purchase price of all vehicles currently owned and for such other incidental and consequential

damages as allowed under U.C.C. §§ 2-608 and 2-711.

       146.      Defendants were provided notice of these issues by complaints filed against them,

including the instant complaint, and, upon information and belief, by numerous communications

sent by customers before or within a reasonable amount of time after the allegations of vehicle

defects became public.

       147.      As a direct and proximate result of Defendants’ breach of express warranties,

Plaintiffs and the Class have been damaged in an amount to be determined at trial.

                                            COUNT VII
                                           NEGLIGENCE

       148.      Plaintiffs re-allege and incorporate herein all other allegations in this Complaint.

       149.      Defendants designed, manufactured, distributed, tested, sold, applied, used and/or

supplied the Defective Vehicles at issue.

       150.      Defendants held themselves out as a corporation capable of reasonably and

prudently developing, manufacturing, marketing, supplying, testing, distributing, applying, using,

supplying, and selling the Defective Vehicles at issue and therefore had the duty to have and

exercise the knowledge of an expert on such product.

       151.      Defendants knew or should have known that the Defective Vehicles contained

defects including that, among other things, Defendants manufactured and designed them without

engine immobilizers, an electronic security device that makes it more difficult to start a vehicle

without a key.


                                                  22
                 CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 23 of 27




        152.     Defendants knew or should have known that the Defective Vehicles are incredibly

easy to steal.

        153.     As designers, manufacturers, processors, packagers, distributors, marketers, sellers,

users, appliers and suppliers of the Defective Vehicles, Defendants had a duty to exercise due care

and the ordinary, reasonable and technical skill and competence that is required of designers,

manufacturers, processors, packagers, distributors, marketers, sellers, suppliers, and others in a

similar situation, including, without limitation, the duty to test its vehicles; the duty to acquire and

maintain the knowledge of an expert; the duty to design, manufacture, process, distribute, market,

sell, and/or supply its vehicles free from defects and/or latent defects; the duty to adequately warn

of vehicle defects and/or hazards, which duty continued even after the sale of said vehicles; and

the duty to market, advertise, sell and supply vehicles with adequate information and warnings

about the unacceptable risk of theft their design failures create.

        154.     Defendants failed to use due care under the circumstances and thereby breached its

duties as set forth above and was careless and negligent in the performance of its said duties to

Plaintiffs and the Nationwide Class and/or Minnesota Class Members.

        155.     Plaintiffs used one of Defendants’ Defective Vehicles in a manner ordinarily

anticipated by Defendant.

        156.     As a direct and proximate result of the dangerous and defective condition of

Defendants’ vehicles and Defendants’ failure to warn of the dangers thereof, Plaintiffs and the

Nationwide Class and/or Minnesota Class Members have suffered economic injuries.

        157.     These injuries are not limited to only the difference in value between a Defective

Vehicle and a similar vehicle that is not defective. Other damages include, but not limited to, the

purchase price of a “Club” or other similar device to prevent theft, the increase in insurance



                                                  23
               CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 24 of 27




premiums Plaintiffs and Class Members are facing or may face due to the design defect, and the

stigma associated with the Defective Vehicles.

       158.    At the time of Defendants’ design, manufacture, processing, distribution,

marketing, selling, supplying and/or use of the Defective Vehicles at issue, Defendants knew of

the dangerous condition of said products and supplied them with deliberate and/or intentional

disregard for not making any warning, instruction, or other precaution to prevent injuries or

damages and thereby showed complete indifference to and/or conscious disregard for the rights

and/or safety of others.

       159.    Defendants specifically placed profits ahead of the health, rights, and safety of

others by intentionally designing the vehicles to be defective and by concealing material facts

about the Defective Vehicles.

       160.    Defendants’ conduct was willful, wanton, and/or in reckless disregard for the rights

of Plaintiffs and the Nationwide Class and/or Minnesota Class Members.

       161.    As a direct and proximate result of Defendants’ negligence, Plaintiffs and the Class

have been damaged in an amount to be determined at trial.

                                     COUNT VIII
                           STRICT LIABILITY, DESIGN DEFECT

       162.    Plaintiffs re-allege and incorporate herein all other allegations in this Complaint.

       163.    Defendants designed, manufactured, and/or supplied the Defective Vehicles in

question within the ordinary course of its business.

       164.    Plaintiffs purchased and owned a Defective Vehicle.

       165.    The Defective Vehicles contain a design defect including that, among other things,

Defendants manufactured and designed them without engine immobilizers, an electronic security

device that makes it more difficult to start a vehicle without a key. As a result, the Defective


                                                 24
               CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 25 of 27




Vehicles are far easier to steal than other vehicles, and are therefore unsafe and worth less than if

they had engine immobilizers.

       166.    Defendant knew or should have known of the dangerous and defective nature of the

Defective Vehicles at the time of their design, manufacture, sale, testing, transportation,

distribution, supply, and use.

       167.    Notwithstanding, Defendants failed to take safety precautions to prevent economic

injury to Plaintiffs and failed to warn and/or instruct Plaintiffs and others of the defective and

unreasonably dangerous nature of said vehicles.

       168.    Defendant’s defective and unreasonably dangerous vehicles directly and

proximately caused economic injuries to Plaintiffs and the Nationwide Class and/or Minnesota

Class Members.

       169.    Plaintiffs drive their vehicles and then park it and leave them unattended, which is

a manner of use reasonably anticipated by Defendants.

       170.    As a result of the Defective Vehicles’ defect, which make them incredibly easy to

steal, they are unreasonably dangerous and defective when put to the use anticipated by

Defendants.

       171.    As a direct and proximate result of the dangerous and defective condition of

Defendants’ vehicles and Defendants’ failure to warn of the dangers thereof, Plaintiffs and the

Nationwide Class and/or Minnesota Class Members have suffered economic injuries.

       172.    These injuries are not limited to only the difference in value between a Defective

Vehicle and a similar vehicle without that is not defective. Other damages include, but are not

limited to, the purchase price of a “Club” or other similar device to prevent theft, the increase in




                                                 25
               CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 26 of 27




insurance premiums Plaintiffs and Class member are facing or may face due to the design defect,

and the stigma associated with the Defective Vehicles.

       173.    At the time of Defendants’ design, manufacture, processing, distribution,

marketing, selling, supplying and/or use of the Defective Vehicles at issue, Defendants knew of

the dangerous condition of said products and supplied them with deliberate and/or intentional

disregard for not making any warning, instruction, or other precaution to prevent injuries or

damages and thereby showed complete indifference to and/or conscious disregard for the rights

and/or safety of others.

       174.    Defendants specifically placed profits ahead of the health, rights, and safety of

others by intentionally designing the vehicles to be defective and by concealing material facts

about the Defective Vehicles’ safety features.

       175.    Defendants’ conduct was willful, wanton, and/or in reckless disregard for the rights

of Plaintiffs and the Nationwide Class and/or Minnesota Sub-Class Members.


                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

request relief and judgment against Defendants as follows:

       a.      An order certifying the Class, appointing Plaintiffs as representatives of the
               Nationwide Class, appointing Plaintiffs’ counsel as class counsel, and
               directing that reasonable notice of this action, as provided by Rule 23, be
               given to the Nationwide Class;
       b.      Alternatively, an order certifying the Minnesota Class, appointing Plaintiffs
               as representatives of the Minnesota Class, appointing Plaintiffs’ counsel as
               class counsel, and directing that reasonable notice of this action, as provided
               by Rule 23, be given to the Minnesota Class;
       c.      Judgment against the Defendants for the causes of action alleged against it;
       d.      Damages in an amount to be proven at trial;
       e.      Injunctive relief, enjoining the Defendants from selling the Defective
               Vehicles and ordering them to fix or replace the vehicles;
       f.      An award of reasonable attorneys’ fees and costs, including experts’ fees;
               and

                                                 26
              CASE 0:22-cv-02882 Doc. 1 Filed 11/11/22 Page 27 of 27




       g.      For such other relief in law or equity as the Court deems just and proper.


                    DESIGNATION AND DEMAND FOR JURY TRIAL

Plaintiffs hereby demand a trial by jury.

Dated: November 11, 2022                     Respectfully submitted,
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                                                27
